Case 3:24-cv-04647-GC-RLS Document9 Filed 04/24/24 Page 1of1PagelD: 219

RETURN OF SERVICE

Case: Court: County: | Job:

3:24-CV-04647-ZNQ-RLS | UNITED STATES DISTRICT COURT FOR THE NJ 10903209 (STIER, ESQ v. POSSEBON, ET AL.)
DISTRICT OF NEW JERSEY

Plaintiff / Petitioner: Defendant / Respondent:

EDWIN H. STIER, ESQ DIEGO POSSEBON, ET AL.

Received by: For:

ALMA Calcagni Kanefsky

To be served upon:

Coinbase, Inc. c/o Corporation Service Company

|, Adam Golden, declare under penalty of perjury under the laws of the United States of America that the foregoing information is true to the
best of my knowledge, information, and belief and do further affirm that | am a competent person over 18 years of age and not a party to
the case.

Recipient Name / Address: "Jane Doe", 251 Little Falls Drive, Wilmington, DE 19808
Manner of Service: Authorized, Apr 22, 2024, 1:26 pm EDT
Documents: SUMMONS INA CIVIL CASE, COMPLAINT, DEMAND FOR A JURY TRIAL (Received Apr 19, 2024 at 4:28pm EDT)

Additional Comments:
1) Successful Attempt: Apr 22, 2024, 1:26 pm EDT at 251 Little Falls Drive, Wilmington, DE 19808 received by "Jane Doe". Age: 25; Ethnicity:
Caucasian; Gender: Female; Weight: 120; Height: 5'4"; Hair: Brown; Other: Title: Legal Representative;

Left in the presence of "Jane Doe”, legal registered agent representative (per agent policy they will no longer provide a name for acceptance).
All legal documents must be left in the basket at front desk.

Kh he nares

Adam Golden Date

ALMA

225 E Redwood Street
Suite 401B

Baltimore, MD 21202
410-317-4477

